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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 GOVERNMENT OF THE UNITED STATES
 VIRGIN ISLANDS,
                                                            Case No. 22-cv-10904-JSR
                         Plaintiff,
                                                          MOTION FOR ADMISSION
           v.                                                 PRO HAC VICE
                                                           FOR JONATHAN DUNN
 JPMORGAN CHASE BANK, N.A.,

                         Defendant /
                         Third-Party Plaintiff


 JPMORGAN CHASE BANK, N.A.,

                         Third-Party Plaintiff,

           v.

 JAMES EDWARD STALEY,

                         Third-Party Defendant.




          Pursuant to Rule 1.3(c) of the Local Rules for the United States District Courts for the

Southern and Eastern Districts of New York, I, Jonathan Dunn, hereby move this Court for an

Order for admission to practice pro hac vice to appear as counsel in the above-captioned case on

behalf of Third-Party Defendant James Edward Staley.

          I am a member in good standing of the bar of Maryland, and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been convicted of a

felony.
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       I have never been censured, suspended, disbarred or denied admission or readmission by

any court. I have attached the affidavit pursuant to Local Rule 1.3.


 Dated: May 23, 2023                              Respectfully submitted,

                                                  /s/ Jonathan Dunn__________         _
                                                  Applicant Signature

                                                  Applicant’s Name: Jonathan Dunn
                                                  Firm name: Williams & Connolly LLP
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                                                  Attorney for James Edward Staley
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2023, I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel of record in this matter who are on the CM/ECF system.



                                                   /s/ Jonathan Dunn
                                                   Jonathan Dunn
